Case 1:14-ml-02570-RLY-TAB Document 11684-1 Filed 09/03/19 Page 1 of 1 PageID #:
                                   85629



                   IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION
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 IN RE COOK MEDICAL, INC., IVC FILTERS
 MARKETING, SALES PRACTICES AND                             Case No. 1:14-ml-2570-RLY-TAB
 PRODUCTS LIABILITY LITIGATION                              MDL No. 2570
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                         EXHIBIT A TO MOTION TO DISMISS
                              PLAINTIFF SCHEDULE

    Plaintiff                 Cause Number        PPS Due       PPS           Exhibit B
                                                  Date          Deficiency    Sub-Exhibit
                                                                Letter Sent   Number
                                                                Date
    Uzzle, Charles            1:17-cv-00914       4/24/2017     6/12/2019          1
    Savage, Lashonda L.       1:17-cv-02511       9/25/2017     6/07/2019          2
    De Leonard, Shirley and   1:17-cv-02679       4/26/2018     5/10/2019          3
    Richard
    Mull, Linda               1:17-cv-02701       9/08/2017     5/16/2019          4
    Zeck, Henry               1:17-cv-02714       9/08/2017     5/10/2019          5
    Chester, Carl [ESTATE]    1:17-cv-02798       10/06/2017    5/10/2019          6
    Ellis, Randy              1:17-cv-03314       10/19/2017    5/10/2019          7
    Anderson, Leonard         1:17-cv-03340       4/26/2018     5/16/2019          8
    Brown, Ezill              1:17-cv-04389       4/26/2018     6/07/2019          9
    Aycock, Neal              1:18-cv-01857       7/18/2018     6/12/2019          10
    Goss, Linda               1:18-cv-02432       9/7/2018      6/07/2019          11
    Billiet, David            1:18-cv-02697       10/01/2018    5/16/2019          12
    Adams, Steven             1:18-cv-03960       1/16/2019     5/16/2019          13
    Kemper, Thomas            1:18-cv-03994       1/18/2019     6/07/2019          14
    Orange, Cindy             1:19-cv-00025       2/04/2019     6/07/2019          15
    Earley, Phyllis           1:19-cv-00668       4/15/2019     6/07/2019          16
    Woolever, Margaret        1:19-cv-00962       4/08/2019     6/07/2019          17
    Beck, Jeremiah            1:19-cv-01231       5/30/2019     6/18/2019          18
    Marshall, Henry           1:19-cv-01242       4/26/2019     6/07/2019          19
    Burleson, Diane           1:19-cv-01428       5/09/2019     6/07/2019          20
    Kingsland, Gail           1:19-cv-01645       5/23/2019     6/07/2019          21
    Good, Damon               1:19-cv-01711       5/29/2019     6/07/2019          22
    Walker, Ruchelle          1:19-cv-00484       2/28/2019     6/07/2019          23
    Yerman, Sandra            1:19-cv-00524       3/03/2019     6/07/2019          24
    Poteat, Betty             1:19-cv-00843       3/29/2019     6/07/2019          25



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